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                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

MICHAELA M., by and through her              )
next friend, KELLY M., individually          )
and on behalf of all others similarly        )
situated, et al.,                            )
                                             )
       Plaintiffs,                           )
                                             )
v.                                           ) CASE NO. 2:24-cv-102-RAH-KFP
                                             )
STEPHANIE M. AZAR, et al.,                   )
                                             )
      Defendants.                            )


                              JOINT STATUS REPORT

       COME NOW, all parties to the above-styled cause, pursuant to the Court’s Order

dated October 11, 2024 (Doc. 23), and submit their Joint Status Report as follows:

       1.     Since mediation was conducted on October 8, 2024, Defendants have

              conferred with third-party contractors regarding the development and

              implementation of a statewide assessment tool to be utilized in the waiver

              program which is the subject of the underlying suit.

       2.     Defendants are pleased to advise that said development can be undertaken

              pursuant to existing contracts such that there will be no delay due to having

              to re-bid services.

       3.     During meetings conducted on October 10, 2024, Defendants were
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          advised by the third-party contractor that the development process should

          take no longer than six (6) months to complete, which is inclusive of

          development of the assessment tool itself, associated procedures/manuals

          and training materials. As of the filing of this Joint Status Report, that

          timeline remains feasible.

    4.    The parties respectfully request the Court to keep this matter in an

          administrative stay as they continue to work through the timeline of

          development and implementation of a statewide assessment tool.

    5.    The parties will provide the Court with another Joint Status report on or

          before January 10, 2025, or some other dated as may be Ordered.


    Respectfully submitted this 22nd day of November, 2024.



                                       /s/ John W. Marsh
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                                       JOHN W. MARSH (ASB-6290-H64M)
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                                       Stephanie M. Azar and Jean W. Brown


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                                 /s/ J. Carlton Sims (with permission)
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                         CERTIFICATE OF SERVICE

      I hereby certify that I have served a copy of the foregoing document upon the
following counsel of record via CM/ECF electronic transmission and/or by placing
same in the U.S. Mail, postage prepaid on November 22, 2024:

J. Carlton Sims, Esq.
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                                      /s/ John W. Marsh
                                      OF COUNSEL




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